OAO 245C (Rev. 11/07) Amended Judgment in a Criminal Case                                                              (NOTE: Identify Changes with Asterisks (*))
         Sheet 1


                                             UNITED STATES DISTRICT COURT
                                                         NORTHERN DISTRICT OF IOWA
           UNITED STATES OF AMERICA                                               AMENDED JUDGMENT IN A CRIMINAL CASE
                                 V.
                    SAMUEL B. FORD                                                Case Number:                   CR 11-46-1-LRR
                                                                                  USM Number:                    11466-029
Date of Original Judgment: December 5, 2011                                       John Jay Rausch
(Or Date of Last Amended Judgment)                                                Defendant’s Attorney
Reason for Amendment:
O Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                 G   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                  G   Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           G   Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                  G   Direct Motion to District Court Pursuant   G   28 U.S.C. § 2255 or
Asterisks (*) denote changes from Original Judgment                                   G 18 U.S.C. § 3559(c)(7)
                                                                                  G   Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
G    pleaded guilty to count(s)
G    pleaded nolo contendere to count(s)
     which was accepted by the court.
O    was found guilty on count(s) 1 and 2 of the Second Superseding Indictment filed on May 17, 2011
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                             Nature of Offense                                                      Offense Ended                    Count
21 U.S.C. §§ 841(a)(1),                     *Distribution of Heroin Within 1,000 Feet of                             02/19/2011                        1
841(b)(1)(A), 841(b)(1)(C),                 the Real Property Comprising a School
851, and 860(a)                             After Two or More Prior Felony Drug
                                            Convictions

21 U.S.C. §§ 841(a)(1),                     Distribution of Cocaine Base and Heroin After                            02/23/2011                        2
841(b)(1)(C), and 851                       Two or More Prior Felony Drug Convictions


       The defendant is sentenced as provided in pages 2 through                    6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
G    Count(s)                                    is/are is dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                  October 16, 2014
                                                                                  Date of Imposition of Judgment


                                                                                  Signature of Judge
                                                                                  Linda R. Reade, Chief U.S. District Court Judge
                                                                                  Name and Title of Judge
                                                                                    October 16, 2014
                                                                                  Date

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AO 245C    (Rev. 11/07) Amended Judgment in a Criminal Case
           Sheet 2 — Imprisonment                                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment — Page         2     of         6
DEFENDANT:               SAMUEL B. FORD
CASE NUMBER:             CR 11-46-1-LRR

                                                              IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: Life imprisonment. This term of imprisonment consists of a life term imposed on Count 1 and a 360-
month term imposed on Count 2 of the Second Superseding Indictment, to run concurrently.




O   The court makes the following recommendations to the Bureau of Prisons:
    That the defendant be designated to a Bureau of Prisons facility as close to the defendant’s family as possible,
    commensurate with the defendant’s security and custody classification needs.
    That the defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug Abuse
    Treatment Program or an alternate substance abuse treatment program.
    That the defendant participate in a Bureau of Prisons’ Vocational Training Program specializing in carpentry,
    drafting, and/or the development of skills as an electrician.

O   The defendant is remanded to the custody of the United States Marshal.

G   The defendant shall surrender to the United States Marshal for this district:
    G      at                                    G    a.m.      G    p.m.      on                                        .
    G      as notified by the United States Marshal.

G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
    G      before 2 p.m. on                                             .
    G      as notified by the United States Marshal.
    G      as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                            to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                       By
                                                                                                DEPUTY UNITED STATES MARSHAL




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AO 245C      (Rev. 11/07) Amended Judgment in a Criminal Case
             Sheet 3 — Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page        3      of         6
DEFENDANT:                  SAMUEL B. FORD
CASE NUMBER:                CR 11-46-1-LRR
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 10 years. This term of supervised
release consists of a 10-year term imposed on Count 1 and a *6-year term imposed on Count 2 of the Second
Superseding Indictment, to run concurrently.



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
          The defendant shall not commit another federal, state, or local crime.
         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as determined by the court.
G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
O      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
O      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
        defendant’s compliance with such notification requirement.



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AO 245C      (Rev. 11/07) Amended Judgment in a Criminal Case
             Sheet 3C — Supervised Release
                                                                                              Judgment—Page     4     of       6
DEFENDANT:                  SAMUEL B. FORD
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                                        SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

1)        The defendant must participate in and successfully complete a program of testing and treatment for substance
          abuse.
2)        *The defendant must not use alcohol nor enter bars, taverns, or other establishments whose primary source of
          income is derived from the sale of alcohol.
3)        The defendant must participate in a mental health evaluation and/or treatment program. The defendant must
          take all medications prescribed to the defendant by a licensed psychiatrist or physician.
4)        *The defendant must submit to a search of the defendant’s person, residence, adjacent structures, office and
          vehicle, conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based
          upon reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit
          to a search may be grounds for revocation. The defendant must warn any other residents that the residence or
          vehicle may be subject to searches pursuant to this condition. This condition may be invoked with or without the
          assistance of law enforcement, including the United States Marshals Service.
5)        *The defendant must not have contact during the defendant’s term of supervision with the victim(s) set forth in
          paragraph 138A of the presentence report, in person or by a third party. This includes no direct or indirect
          contact by telephone, mail, email, or by any other means.




Upon a finding of a violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


          _____________________________________                      _____________________
          Defendant                                                         Date


          _____________________________________                      _____________________
          U.S. Probation Officer/Designated Witness                         Date




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AO 245C    (Rev. 11/07) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                 Judgment — Page      5       of          6
DEFENDANT:                       SAMUEL B. FORD
CASE NUMBER:                     CR 11-46-1-LRR
                                           CRIMINAL MONETARY PENALTIES

    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                                          Fine                             Restitution
TOTALS           $ 200                                           $     0                              $ 0


G   The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                         Restitution Ordered                 Priority or Percentage




TOTALS                             $                                       $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for          G fine        G restitution.

     G the interest requirement for the        G     fine     G restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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AO 245C     (Rev. 11/07) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page       6      of         6
DEFENDANT:                 SAMUEL B. FORD
CASE NUMBER:               CR 11-46-1-LRR

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    O    Lump sum payment of $                 200            due immediately, balance due

          G     not later than                                     , or
          G     in accordance         G C,       G D,          G   E, or    G F below; or

B    G    Payment to begin immediately (may be combined with               G C,      G D, or    G F below); or

C    G    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.



G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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